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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
                                                  §
 VS.                                              §            CASE NO. 1:13-CR-63 (7)
                                                  §
                                                  §
 SHAWN MAURICE EAGLIN                             §



           FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On May 13, 2014, this case came before the undersigned magistrate judge for entry of a guilty

 plea by the Defendant, Shawn Maurice Eaglin, to Count One of the First Superseding Indictment.

 Count One alleges that from on or November 9, 2010, the exact date being unknown to the Grand

 Jury, and continuing thereafter until May 31, 2013, in the Eastern District of Texas and elsewhere,

 Shawn Maurice Eaglin and his co-defendants did knowingly and intentionally combine, conspire,

 confederate, and agree with each other and other persons known and unknown to the Grand Jury to

 distribute and possess with intent to distribute five (5) kilograms or more of a mixture or substance

 containing a detectable amount of a Schedule II controlled substance, namely, cocaine base, all in

 violation of 21 U.S.C. § 841(a)(1) and U.S.C. § 2, all in violation of 21 U.S.C. § 846.


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          The Defendant entered a plea of guilty to Count One of the First Superseding Indictment into

 the record at the hearing. After conducting the proceeding in the form and manner prescribed by

 Federal Rule of Criminal Procedure 11, the undersigned finds:

          a.        That the Defendant, after consultation with his attorney, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas, subject to a final approval and imposition of

 sentence by the District Court.

          b.        That the Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal. The

 Defendant verified that he understood the terms of the plea agreement, agreed with the Government’s

 summary of the plea agreement, and acknowledged that it was his signature on the plea agreement.

 To the extent the plea agreement contains recommendations and requests pursuant to FED. R. CRIM.

 P. 11 (c)(1)(B), the court advised the Defendant that he has no right to withdraw the plea if the court

 does not follow the particular recommendations or requests. To the extent that any or all of the terms

 of the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant

 that he will have the opportunity to withdraw his plea of guilty should the court not follow those

 particular terms of the plea agreement.1

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  “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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         c.      That the Defendant is fully competent and capable of entering an informed plea, that

 the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

 in open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and

 did not result from force, threats or promises (other than the promises set forth in the plea

 agreement). See FED. R. CRIM. P. 11(b)(2).

         d.      That the Defendant’s knowing and voluntary plea is supported by an independent

 factual basis establishing each of the essential elements of the offense and the Defendant realizes that

 his conduct falls within the definition of the crimes charged under Title 21, United States Code,

 Sections 841(a)(1) and 846.

                                   STATEMENT OF REASONS

         As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government would prove that Eaglin is the same

 person charged in the First Superseding Indictment and that the events described in the First

 Superseding Indictment occurred in the Eastern District of Texas and elsewhere. The Government

 would also have proven, beyond a reasonable doubt, each and every essential element of the offense

 as alleged in Count One of the First Superseding Indictment through the testimony of witnesses,

 including expert witnesses, and admissible exhibits. In support of the Defendant’s plea, the

 undersigned incorporates the proffer of evidence described in detail in the factual basis and

 stipulation filed in support of the plea agreement, and the Defendant’s admissions made in open

 court in response to the undersigned’s further inquiry into the factual basis and stipulation.

         The Defendant agreed with and stipulated to the evidence presented in the factual basis.

 Counsel for the Defendant and the Government attested to the Defendant’s competency and


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 capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

 by the Government and personally testified that he was entering the guilty plea knowingly, freely and

 voluntarily.

                                 RECOMMENDED DISPOSITION

         IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count One of the First Superseding Indictment. Accordingly, it

 is further recommended that the District Court finally adjudge the Defendant, Shawn Maurice Eaglin,

 guilty of the charged offenses under Title 21, United States Code, Section 846.

         The court should defer its decision to accept or reject the plea agreement until there has been

 an opportunity to review the presentence report. If the plea agreement is rejected and the Defendant

 still persists in his guilty plea, the disposition of the case may be less favorable to the Defendant than

 that contemplated by the plea agreement. The Defendant is ordered to report to the United States

 Probation Department for the preparation of a presentence report. The Defendant has the right to

 allocute before the court before imposition of sentence.

                                             OBJECTIONS

         Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file objections

 to this report and recommendation. Objections to this report must: (1) be in writing, (2) specifically

 identify those findings or recommendations to which the party objects, and (3) be served and filed

 within fourteen (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1)(c)

 (2009); Fed. R. Civ. P. 72(b)(2). A party who objects to this report is entitled to a de novo

 determination by the United States District Judge of those proposed findings and recommendations


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 to which a specific objection is timely made. See 28 U.S.C. § 636(b)(1) (2009); Fed R. Civ. P.

 72(b)(3).

        A party’s failure to file specific, written objections to the proposed findings of fact and

 conclusions of law contained in this report, within fourteen (14) days of being served with a copy

 of this report, bars that party from: (1) entitlement to de novo review by the United States District

 Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–77

 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such findings of

 fact and conclusions of law accepted by the United States District Judge, see Douglass v. United

 Servs. Auto. Ass’n, 79 F.3d 1415, at 1428–29 (5th Cir. 1996) (en banc).


      SIGNED this 13th day of May, 2014.




                                                   _________________________
                                                   Zack Hawthorn
                                                   United States Magistrate Judge




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